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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



    Penny Benser,
                                                          Case No. 24-cv-3917

               Plaintiff,
                                                          COMPLAINT
    vs.

    UnitedHealthCare Insurance Company,

               Defendant.




      Plaintiff, for his/her Complaint against Defendant, states and alleges:
          1.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 1132(e)(1) and (f) of the Employee Retirement Income

Security Act of 1974 (“ERISA”) over this claim for disability benefits under a plan

governed by ERISA, 29 U.S.C. § 1001 et seq.

          2.       Venue is proper in this district pursuant to 29 U.S.C. § 1132 (e)(2)1,

because Defendant Insurer may be found in this district. In particular,



1
  29 U.S.C. § 1132 (e)(2) states “Where an action under this subchapter is brought
in a district court of the United States, it may be brought in the district … where a
defendant resides or may be found…”
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UnitedHealthCare Insurance Company is registered as a corporation with the State

of Minnesota, conducts ongoing business with Minnesota residents, employs

Minnesota residents, has extensive contacts within Minnesota, and accordingly is

found within Minnesota.

     3.      On information and belief, Defendant UnitedHealthCare Insurance

Company is the employee benefit plan (“Plan”) that Servion, Inc. created and

maintains to provide its employees with income protection should they become

disabled.

     4.      On information and belief, Defendant UnitedHealthCare Insurance

Company is a corporation organized and existing under the laws of the State of

Connecticut and is the insurer and claims administrator for the Plan.

     5.      Plaintiff is a resident and citizen of the United States, an employee of

Servion, Inc. and a participant in the Plan.

     6.      As set forth in 29 U.S.C. § 1133 of the ERISA statute, the Plan

provides a mechanism for administrative appeals of benefit denials. Plaintiff has

exhausted all such appeals.

     7.      On information and belief, Plaintiff was covered at all relevant times

under group disability policy number 307286 which was issued by

UnitedHealthCare Insurance Company to Servion, inc. to insure the participants of

the Plan.
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     8.      On information and belief, UnitedHealthCare Insurance Company

both funds the Plan and decides whether participants will receive benefits under

the Plan. Accordingly, UnitedHealthCare Insurance Company has a conflict of

interest, which must be considered when determining whether its denial of

Plaintiff’s benefits was proper.2

     9.      UnitedHealthCare Insurance Company’s interest in protecting its own

assets influenced its decision to deny Plaintiff’s application for disability benefits.

     10.     The Plan is an ERISA welfare benefit plan.

     11.     Under the Plan, a participant who meets the definition of “disabled” is

entitled to disability benefits paid out of the Plan assets.

     12.     Plaintiff became disabled under the terms of the Plan’s policy on or

about January 28, 2021, and continues to be disabled as defined by the Plan.

Accordingly, Plaintiff is entitled to benefits under the terms of the Plan.

     13.     Plaintiff submitted a timely claim to UnitedHealthCare Insurance

Company for disability benefits.




2
 “[A]n entity that is both the claims administrator and payor of benefits has a
conflict of interest.” Jones v. Mountaire Corp. Long Term Disability Plan, 542 F.
3d 234, 240 (8th Cir. 2008). Moreover, as the Supreme Court has held, “that
conflict must be weighed as a factor in determining whether there is an abuse of
discretion.” Metro. Life Ins. Co. v. Glenn, 128 S. Ct. 2343, 2348 (2008) (emphasis
added).
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     14.      UnitedHealthCare Insurance Company denied Plaintiff’s claim for

disability benefits. Plaintiff appealed that decision and UnitedHealthCare Insurance

Company overturned its initial denial and paid benefits under a 24-month Mental

Health Limitiation. Once the 24-month period had run, UnitedHealthCare

Insurance Company issued a second denial. Plaintiff appealed that denial on June

18, 2024. UnitedHealthCare Insurance Company denied Plaintiff’s appeal by a

letter dated September 17, 2024.

     15.      In hear appeals, Plaintiff provided UnitedHealthCare Insurance

Company with substantial medical evidence demonstrating she was eligible for

disability benefits.

     16.      UnitedHealthCare Insurance Company’s decision to deny disability

benefits was arbitrary, capricious, unreasonable, irrational, wrongful, contrary to

the terms of the Plan, contrary to the evidence and contrary to law, as demonstrated

by the following non-exhaustive examples:

           a. UnitedHealthCare Insurance Company failed to have Plaintiff

              independently examined, and instead relied on the opinion of a

              medical professional who merely reviewed Plaintiff’s medical records

              and rejected the opinion of Plaintiff’s treating physician;

           b. UnitedHealthCare Insurance Company relied on the opinion of a

              medical professional who was financially biased by their relationship
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              with UnitedHealthCare Insurance Company and as such unable to

              offer an unbiased opinion;

           c. UnitedHealthCare Insurance Company relied on the opinion of a

              medical professional that was not supported by substantial evidence in

              the claim file, and was inconsistent with the overall evidence in the

              record;

           d. UnitedHealthCare Insurance Company relied on the opinion of a

              medical professional who was not qualified to refute the findings of

              Plaintiff’s physician;

           e. UnitedHealthCare Insurance Company ignored obvious medical

              evidence and took selective evidence out of context as a means to

              deny Plaintiff’s claim;

           f. UnitedHealthCare Insurance Company ignored the opinions of

              Plaintiff’s treating physicians.

     17.      UnitedHealthCare Insurance Company abused its discretion in

denying Plaintiff’s claim.

     18.      The decision to deny benefits was wrong under the terms of the Plan.

     19.      The decision to deny benefits was not supported by substantial

evidence in the record.
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     20.      UnitedHealthCare Insurance Company’s failure to provide benefits

due under the Plan constitutes a breach of the Plan.

     21.      UnitedHealthCare Insurance Company’s failure to provide Plaintiff

with disability benefits has caused Plaintiff to be deprived of those benefits from

November 28, 2023 to the present. Plaintiff will continue to be deprived of those

benefits, and accordingly will continue to suffer future damages in an amount to be

determined.

     22.      UnitedHealthCare Insurance Company’s denial of benefits under the

Plan has caused Plaintiff to incur attorneys’ fees and costs to pursue this action.

Pursuant to 29 U.S.C. § 1132(g)(1), Defendants should pay these costs and fees.

     23.      A dispute now exists between the parties over whether Plaintiff meets

the definition of “disabled” under the terms of the Plan. Plaintiff requests that the

Court declare he fulfills the Plan’s definition of “disabled,” and is accordingly

entitled to all benefits available under the Plan. Plaintiff further requests

reimbursement of all expenses and premiums she paid for benefits under the Plan

from the time of denial of benefits to the present. In the alternative of the

aforementioned relief, Plaintiff requests that the Court remand and instruct

UnitedHealthCare Insurance Company to adjudicate Plaintiff’s claim in a manner

consistent with the terms of the Plan.
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WHEREFORE, Plaintiff respectfully requests the following relief against

Defendant:

     1.      A finding in favor of Plaintiff against Defendant;

     2.      Pursuant to 29 U.S.C. § 1132(a)(1)(B), damages in the amount equal

to the disability income benefits to which Plaintiff is entitled through the date of

judgment;

     3.      Prejudgment and postjudgment interest, calculated from each

payment’s original due date through the date of actual payment;

     4.      Any Plan benefits beyond disability benefits that Plaintiff is entitled to

while receiving disability benefits;

     5.      Reimbursement of all expenses and premiums Plaintiff paid for

benefits under the Plan from the time of denial of benefits to the present.

     6.      A declaration that Plaintiff is entitled to ongoing benefits under the

Plan so as long as Plaintiff remains disabled under the terms of the Plan;

     7.      Reasonable costs and attorneys’ fees incurred in this action;

     8.      Any other legal or equitable relief the Court deems appropriate.

       10/15/2024
Dated: _____________                    RESPECTFULLY SUBMITTED
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                                     michael kemmitt
                             By:_s/_______________________
                             Michael Kemmitt (MN Bar # 0398423)
                             Evan Sanford (MN Bar # 0398522)
                             Patrick Kramer (MN Bar # 0396875)
                             KEMMITT, SANFORD, & KRAMER
                             331 2nd Ave S., #500C
                             Minneapolis, MN 55401
                             Office: (612) 230-4585
                             michael@ksk.law
                             evan@ksk.law
                             patrick@ksk.law

                             Attorneys for Plaintiff
